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 4
                            UNITED STATES DISTRICT COURT
 5                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 6

 7     JERRY BRUCE STOCK, II,
                                                       No. 3:20-CV-5778-RAJ-DWC
 8                                Petitioner,
             v.                                        ORDER ADOPTING REPORT
 9
                                                       AND RECOMMENDATION
10     JEFFREY A. UTTECHT
                                  Respondent.
11

12
           The Court, having reviewed the Report and Recommendation of Magistrate Judge
13
     David W. Christel, objections to the Report and Recommendation, if any, and the
14

15   remaining record, does hereby find and ORDER:
16         (1)    The Court adopts the Report and Recommendation.
17
           (2)    Petitioner’s federal habeas Petition is denied with prejudice.
18
           (3)    A certificate of appealability is denied in this case.
19

20         (4)    The Clerk is directed to send copies of this Order to Petitioner, counsel for
                  Respondent, and to the Hon. David W. Christel.
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22
           DATED this 28th day of October, 2021.
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26
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
